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                  IN THE UNITED STATE DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
 _______________________________________________________________________

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.
                                                      CR. NO. 2:23-cr-20191-MSN-5
 EMMITT MARTIN, III,
 TADARRIUS BEAN, DEMETRIUS
 HALEY, DESMOND MILLS, JR.,
 AND JUSTIN SMITH

       Defendants.
 _______________________________________________________________________

    DEFENDANT, JUSTIN SMITH’S NOTICE OF JOINDER WITH DEFENDANT,
          DEMETRIUS HALEY’S, MOTION TO COMPEL DISCOVERY
                       AND SUPPLEMENT THERETO
 _______________________________________________________________________

        COMES NOW, the Defendant, Justin Smith (hereinafter “Smith”), and files this

 his Notice of Joinder with, and in agreement to, Defendant, Demetrius Haley’s

 (hereinafter “Haley”), previously filed Motion to Compel Discovery as if copied verbatim

 herein and in addition thereto would state as follows:

        1.      In addition to the arguments made in Haley’s Motion to Compel, Smith

 would argue that the position of the Government is disingenuous and intellectually

 dishonest. The Government is all but stating “tell us what you think we have before we

 agree to give it to you.”

        2.      Only by happenstance did the Defendants even learn that the Government

 had downloaded the contents of Tyre Nichols’ (hereinafter “Nichols”) cellular phone. It

 was not like the Government volunteered to the Defendants that they had that
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 information. Once it was discovered by the Defendants that the Government had the

 information did the Government quite boldly said that in their opinion, the contents were

 not relevant to the crimes charged. The Government actually asserted the irrelevance

 before they even reviewed the contents of the phone that they took the time to dump.

         3.      This type of unmerited trust in the Government’s ability to fashion a

 method suitable of getting to the truth is unacceptable.

         4.      In this case, it has been widely disseminated in the media, through

 politicians; and state and federal prosecutors, that the horrible incident caught on video

 was the intentional and vicious acts of five (5) sworn police officers acting in concert at

 the expense of the life of Nichols.

         5.      The narrative that exists is not necessarily the true facts of the case.

         6.      It is not the Defendants’ role to point out to the Government why they

 might be able to put up an adequate defense for their clients by guessing the state of mind

 of Nichols at the time of his traffic stop.

         7.      However, Nichols’ state of mind and criminal activity is very relevant.

         8.      The overarching questions that every human being remotely

 knowledgeable of the Nichols’ case is “Why did Nichols run from the police?” and “Why

 did the police behave as they did in response to Nichols’ running from the police?” These

 questions go to the very heart of the criminal charges leveled against Smith.

         9.      The Government argues that Smith violated the civil rights of Nichols by

 exercising unreasonable force in seizing or capturing Nichols, and then failed to render

 medical aid to Nichols after he was finally in custody.




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           10.   Again, only by happenstance, did the Defendants learn that Nichols had

 Schedule I hallucinogenic narcotics in his vehicle on the night in question. Psilocybin,

 commonly referred to as magic mushrooms, are a Schedule I hallucinogenic. By

 reviewing the Tennessee Bureau of Investigation’s inventory of Nichols’ car, it was

 determined that almost two (2) grams of the substance was found. However, because the

 narrative of the Government’s prosecution does not include Nichols’ state of mind or

 addled mind at the time of the traffic stop, the Government obviously did not request

 toxicology testing for psilocybin or its metabolite.

           11.   On another issue, the Defendants, by chance, learned that stolen credit

 cards, stolen debit cards and stolen photograph IDs were also found in Nichols’ vehicle.

 How these credit cards, debit cards and photo IDs came into the possession of Nichols is

 in fact important when examining the state of mind of Nichols when he ran from the

 police.

           12.   Why Smith has to set forth how this information is relevant is insulting. In

 this case, “Why did Nichols run from the police?” is very well answered by the fact that

 Nichols did not want to be taken into custody with felony drugs and felony fraud

 evidence in his possession, and if he consumed the hallucinogenic drug, it would explain

 his reaction to being stopped by the police.

           13.   Instead, the Government wants to focus solely on the fact that Nichols was

 close to his mother’s home where she lived with Nichols’ stepfather.

           14.   Again, only through happenstance, did the Defendants learn that after the

 custodial arrest, Lt. DeWayne Smith went to the home of Nichols’ mother and stepfather




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 where Lt. Smith was initially informed that they did not even know a Tyre Nichols,

 and that they had lived in the home for five (5) years.

        15.     This dichotomy of narratives is important to explore. These police officers

 received a radio call that there was a fleeing suspect on foot who had been tazed and

 sprayed, and that the suspect had escaped police after an altercation with the police.

        16.     Responding officers have a legal and sworn duty to take that fleeing

 suspect into custody for further investigation. The motive of the police officers in their

 actions towards Nichols are quite relevant to show intent. At the same time, it is

 important to explore what Nichols’ state of mind was.

        17.     Forcing the Defendants to explain why reviewing Nichols’ cell phone

 contents would be important is unfair and obstructive.

        18.     To quote Donald Rumsfeld, Smith “cannot possibly know what he doesn’t

 know.” If the Government is hiding the ball by not disclosing an index of investigative

 material for Smith to then ask the court, in camera if nothing else, to review that material

 to determine if it is Brady material, ties the hands of Smith from a full and fair defense of

 these very serious charges that can bring a potential life sentence.

        19.     The incredulous response of the Government should be examined closely

 by this Court as the gatekeeper for justice for all parties involved.

                                             LAW

        Brady and its progeny stand consistently affirmed – if not expanded – the

 government’s disclosure obligations without suggesting those duties are reciprocal upon

 the Defendant in any way. See Kyles v. Whitley, 514 U.S. 419, 433-34, 437

 (1995)(government’s Brady obligations extend to evidence “known only to police

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 investigators and not to the prosecutor” because prosecutors have an absolute “duty to

 learn” evidence favorable to the defense); Bagley, 473 U.S. at 676 (1985)(government’s

 Brady obligations extend to impeachment evidence); United States v. Agurs, 427 U.S. 97,

 106-07 (1976)(government’s Brady’s obligations apply even when there has been no

 request by the defendant).

        In Banks v. Dretke, 540 U.S. 668 (2004), the U.S. Supreme Court confirmed that

 its [Brady] precedents “lend no support to the notion that defendants must scavenge for

 hints of undisclosed Brady material when the prosecution represents that all such material

 has been disclosed.” Id. at 695.

        In this case, the Government has stated in writing that they have not even

 reviewed Nichols’ cell phone “dump,” so how can they fulfill their obligation to disclose

 Brady material if they have not even reviewed it?

        WHEREFORE, PREMISES CONSIDERED, Smith prays for an order compelling

 the Government to furnish an index of investigative material within its possession,

 custody, or control – including the possession, custody, or control of the investigative

 agencies which has not been produced in discovery to enable Smith to form his own,

 independent opinion on whether the Government is complying with the Brady obligation

 it has acknowledged it must meet.

        In addition, Smith prays for an order to produce Nichols’ cell phone contents

 “dumped” by the Government previously, yet not produced to Smith.




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                                               Respectfully submitted,


                                               /s/Martin Zummach
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                                               Attorney for Defendant

                               CERTIFICATE OF SERVICE

          The undersigned certifies that on the 5th day of October, 2023, a copy of
 the foregoing document was electronically filed with court clerk using the ECF
 System, and that upon filing, a copy will be sent via the Court’s ECF System to
 all registered parties in this case.

                                               S/Martin Zummach




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